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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:14CR371
                                            )
             Plaintiff,                     )
                                            )                    ORDER
             vs.                            )
                                            )
ESTHER C. DURHAM,                           )
                                            )
             Defendant.                     )


      This matter is before the Court on the government’s Motion To Dismiss without

Prejudice (Filing No. 102). The government is requesting Count IV of the Superseding

Indictment (Filing No. 19) be dismissed, without prejudice, as it relates to Esther C.

Durham. Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for the

dismissal of Count IV of Superseding Indictment.

      IT IS ORDERED that the government’s Motion To Dismiss without Prejudice (Filing

No. 102) is granted, and Count IV of the Superseding Indictment is dismissed, without

prejudice, as to Esther C. Durham.

      DATED this 3rd day of September, 2015.


                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
